                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TENNESSEE

   CHRISTOPHER BRANHAM                               )
   as administrator of the                           )
   ESTATE OF SETH BLACK,                             )
                                                     )
                    Plaintiff,                       )
   vs.                                               )   Civil Action No. 3:21-cv-360
                                                     )
   TENNESSEE VALLEY AUTHORITY and                    )
   Serve:   Tennessee Valley Authority               )   TWELVE (12) PERSON
            c/o David B. Fountain, General Counsel   )   JURY TRIAL DEMANDED
            400 W. Summit Hill Dr.                   )
            Knoxville, TN 37902                      )
                                                     )
   GUBMK CONSTRUCTORS,                               )
   Serve:   GUBMK Constructors                       )
            c/o General Counsel                      )
            400 W. Summit Hill Dr., WT11B            )
            Knoxville, TN 37902                      )
                                                     )
                    Defendants.                      )

                                             COMPLAINT

            Comes now the Plaintiff, Christopher Branham as administrator of the Estate of

   Seth Black, by and through counsel, for his cause of action against the Defendants,

   Tennessee Valley Authority and GUBMK Constructors, and would respectfully show

   unto this Honorable Court:

   1.               The Defendant, Tennessee Valley Authority, is a government-owned

            corporation that may be sued directly pursuant to 16 U.S.C. § 831c(b).

   2.               The Defendant, GUBMK Constructors, is a business that primarily

            performs work at sites owned and operated by the Defendant, Tennessee Valley

            Authority.




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   3.           The Plaintiff, Christopher Branham, is the administrator of the Estate of

         Seth Black, currently pending in Rhea County Chancery Court under docket

         number 72CH1-2021-PR-2950.

   4.           This Court has jurisdiction over the present claim because the Defendant,

         Tennessee Valley Authority, is an executive branch corporate agency and

         instrumentality of the United States created by and existing pursuant to the

         Tennessee Valley Authority Act of 1933 (“TVA Act”), 16 U.S.C. § 831 et seq. See

         Tenn. Valley Auth. v. Hill, 437 U.S. 153, 157 (1978) (“[T]he Tennessee Valley

         Authority [is] a wholly owned public corporation of the United States . . . .”).

   5.           Further, this Court separately has subject matter jurisdiction over this

         action under 28 U.S.C. § 1331 because a claim against a federal corporation created

         by an Act of Congress, such as the TVA Act, falls within the grant of federal

         question jurisdiction under § 1331.

   6.           On or about September 16, 2021, the deceased, Seth Black, was working

         for Williams Specialty Services, LLC, and his job duties that day took place at the

         Bull Run Power Plant in Anderson County, Tennessee.

   7.           At all times material herein, the Defendants, through their agents,

         servants, and employees, operated, owned, managed, maintained, and controlled

         the Bull Run Power Plant where the Seth Black was killed.

   8.           On September 16, 2021, Seth Black was working to place insulation on top

         of a precipitator insulator when he fell through the top surface and came into

         contact with an energized circuit, causing his electrocution and death.

   9.           Prior to the accident at issue, the Defendants, Tennessee Valley Authority

         and GUBMK Constructors, failed to determine if the walking surface on the


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         precipitator insulator had the strength and structural integrity to support the

         weight of workers in general and Seth Black in particular.

   10.           The Defendants, through their agents, servants, and employees, were

         negligent in allowing the walking surface on the precipitator insulator to remain

         in a dangerous condition such that it was dangerous to the workforce in general

         and to the deceased, Seth Black, in particular.

   11.           Prior to the accident at issue, the Defendants, through their agents,

         servants, and employees, knew or, through the exercise of reasonable diligence

         should have known, about the hazardous condition of the walking surface on the

         precipitator insulator.

   12.           The Defendants were negligent in failing to adequately warn the

         workforce in general and to the deceased, Seth Black, in particular, regarding the

         hazardous condition of the walking surface on the precipitator insulator.

   13.           As a result of the electrocution accident at issue, the decedent, Seth Black,

         suffered pain of mind and body and sustained fatal injuries.

   14.           The Plaintiff is entitled to recover the decedent’s funeral expenses, the

         pecuniary value of his life, and the loss of his love and affection for all the family

         members.




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             WHEREFORE, the Plaintiff, Christopher Branham as administrator of the

   Estate of Seth Black, demands judgment against the Defendants for damages in the sum

   of FIVE ($5,000,000.00) MILLION DOLLARS AND no/100 CENTS and costs.



             The Plaintiff demands a jury try this action.

             Respectfully submitted this the 15th day of September, 2022.




                                                     ___________________________
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